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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 GOOSEHEAD INSURANCE AGENCY,                    §
 LLC,                                           §
                                                §
          Plaintiff,                            §
                                                §
 v.                                             §    Civil Action No. 4:19-cv-01040-O
                                                §
 WILLIAMS INSURANCE AND                         §
 CONSULTING, INC. et al.,                       §
                                                §
          Defendants.                           §

                                            ORDER

         Before the Court is Plaintiff’s Motion to Dismiss Counts I, III, IV and V of Defendants’

Amended Counterclaim and to Apply Texas Law to Counts II and VI. Motion, ECF. 41. The parties

are DIRECTED to brief whether Chapter 271 of the Texas Business and Commerce Code applies

to this dispute. See Tex. Bus. & Com. Code § 271.001-11. Plaintiff must file its supplemental brief

on this issue no later than August 25, 2020. Defendant must file its response no later than August

27, 2020. Plaintiff may reply no later than August 28, 2020.


SO ORDERED on this 21st day of August, 2020.



                                                     _____________________________________
                                                     Reed O’Connor
                                                     UNITED STATES DISTRICT JUDGE
